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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Opus Fund Services (USA) LLC,                   )
                                                )
                    Opus,                       )            Case No. 17-cv-00923
                                                )
                                                )
                    v.                          )            Honorable Sharon Johnson Coleman
                                                )
                                                )            Magistrate Judge Maria Valdez
Theorem Fund Services, LLC, Stephen Giannone, )
Mikhail Davidyan, Melissa Bockwinkle, Elizabeth )
Wright,                                         )
                           Defendants.          )

            REPLY IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

       Defendants Theorem Fund Services, LLC (“Theorem”), Stephen Giannone, Mikhail

Davidyan, Melissa Bockwinkle, Elizabeth Wright, by their attorneys, submit this reply in support

of their Motion to Dismiss Counts II, III and IV of Opus Fund Services (USA) LLC’s (“Opus”)

Second Amended Complaint (ECF DOC.#49) pursuant to Fed. Rule Civ. Procedure 12(b)(6).

                                       INTRODUCTION

       Opus alleges that two of its existing clients transferred business to defendant Theorem

approximately one year after its former employee, defendant Giannone, left Opus and thereafter

formed defendant Theorem, a “direct competitor” of Opus. (Second Amended Complaint,

“SAC” ¶¶ 4-5, 41-43). Opus claims that prior to each of the four individual defendants’

departure from Opus, each “absconded” with “confidential proprietary data and trade secrets”

identified as “business/client referral sources”, “business prospects”, “future business

development plans”, unspecified “proprietary client information”, unnamed “proprietary

manuals” and “contracts. ” It does not allege how each of these individuals stole or used Opus’s

“trade secrets” in transacting with the two Opus clients who months later placed business with

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Theorem, or how any of these “trade secrets” were “used for the benefit” of Theorem, in general.

Indeed, Opus does not, and apparently cannot, allege who took what, where, when or how.

Nevertheless, Opus maintains that its vague, general allegations, identical as to all of the

defendants, adequately state claims for trade secret misappropriation in violation of the Defense

of Trade Secrets Act (“DTSA”), the Illinois Trade Secrets Act (“ITSA”) and the Computer Fraud

Abuse Act (“CFAA”) against each individual. Opus’s position is unsustainable.

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Tagami v.

City of Chicago, 14 CV 9074, 2016 WL 397322, at *2 (N.D. Ill. Feb. 1, 2016)(Coleman, J.);

citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). A claim has facial plausibility when its factual content allows the Court to draw a

reasonable inference that the defendants are liable for the misconduct alleged. Id. As the United

States Supreme Court held in Iqbal:


        Rule 8 marks a notable and generous departure from the hypertechnical, code-pleading
        regime of a prior era, but it does not unlock the doors of discovery for a plaintiff armed
        with nothing more than conclusions. . . [O]nly a complaint that states a plausible claim
        for relief survives a motion to dismiss. Determining whether a complaint states a
        plausible claim for relief will, as the Court of Appeals observed, be a context-specific
        task that requires the reviewing court to draw on its judicial experience and common
        sense. But where the well-pleaded facts do not permit the court to infer more than the
        mere possibility of misconduct, the complaint has alleged—but it has not “show[n]”—
        “that the pleader is entitled to relief.” Fed. Rule Civ. Proc. 8(a)(2).In keeping with these
        principles a court considering a motion to dismiss can choose to begin by identifying
        pleadings that, because they are no more than conclusions, are not entitled to the
        assumption of truth.


556 U.S. at 678–79 (internal citations omitted)(emphasis added). Courts have recognized that

under the Twombly/Iqbal analysis, conclusory allegations are insufficient, and cannot “unlock

the door to discovery.”

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       In this case, Opus has alleged no more than that defendants at one time worked for Opus,

left Opus, and months later formed and/or worked for a competitor, Theorem. There are

additional allegations that defendant Giannone solicited Opus’ clients following his departure,

and that two of Opus’ clients transferred or placed business with Theorem many months after he

departed from Opus. While each of the defendants is alleged to have “misappropriated” Opus’

“trade secrets” – in an identical manner and without variation - Opus does not allege a single fact

as to how any “trade secret” was “misappropriated,” nor how any of the four individual

defendants used any of the alleged “trade secrets.” Opus maintains that the conclusory

allegations of the Second Amended Complaint (“SAC”) suffice to withstand the motion to

dismiss because it believes it will obtain factual support for its claims through discovery. But as

recognized in Iqbal, conclusory allegations cannot “unlock the door” to discovery.

       Moreover, none of the six categories of information satisfies the statutory definition of a

“trade secret” based on the facts alleged in the SAC, which assert only that these categories of

information were stored on a password protected computer platform and that Opus’s employees

signed confidentiality agreements. If Opus’ allegations of “reasonable efforts to remain secrecy”

are sufficient to satisfy the statutory definition of a “trade secret” under ITSA and/or DTSA, then

any information or data stored on a password protected computer network – which is a standard

business practice – by an employer who maintains confidentiality agreements with any of its

employees can be deemed a “trade secret.” There is no basis to accept this sweeping proposition,

and the case law upon which Opus relies does not hold otherwise.

       Lastly, Opus argument that it has sufficiently alleged loss to sustain a claim under the

Computer Fraud Abuse Act is misplaced. Opus is correct that to establish loss for purposes of

civil liability, it can allege damage or loss. But in order to establish the violation upon which



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civil liability is based, Opus – which elected to invoke Section 1030(a)(5)(B) as the basis of the

alleged violation - was required to show actual physical damage, which it has not alleged.

       For these reasons Counts II, III and IV of the SAC should be dismissed.

A.     Conclusory allegations common to all defendants are implausible and otherwise fail
       to allege misappropriation,

       Opus’s allegations of misappropriation are identical as to all defendants: that they

“absconded” with the same six “trade secrets.” (SAC, ¶¶22, 27, 30, 33). However, the

proposition that each of the four individuals “absconded” with the same six categories of data is

implausible, warranting dismissal on this basis alone. Defendants cited as support for their

position Chamberlain Group, Inc. v. Techtronic Indus. N. Am., Inc., 2017 WL 4269005, at *3

(N.D. Ill. Sept. 26, 2017)(Tharp, J.), which found that allegations that all seven defendants in

that case “ committed every action” (emphasis in original) upon which the claims was based was

“simply implausible” warranting dismissal of the misappropriation claim against those seven

defendants. In this case, Opus has alleged that every defendant committed every act constituting

“misappropriation” and “solicitation.” According to Opus, the four individual defendants

“acquired” all six “trade secrets” – (i) “business/client referral sources” (ii) “business

prospects”; (iii) “future business development plans”; (iv) “proprietary client information”; (v)

“proprietary manuals”; and (vi) “contracts” – and all defendants “used” all of these “trade

secrets” to do the same thing: “solicit” Opus’ clients and prospective clients. As in Chamberlain,

this theory is simply implausible, and on this basis alone, Counts II, III and IV should be

dismissed.

       Rather than address the implausible nature of its claims as pled, Opus maintains it is “not

unreasonable to infer” misappropriation by each of the defendants. (Response, p. 5). In support

of this position, Opus cites Lumenate Techs., LP v. Integrated Data Storage, LLC, 13 C 3767,

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2013 WL 5974731, at *2 (N.D. Ill. Nov. 11, 2013). However, that case does not stand for the

proposition that conclusory allegations of “misappropriation” common to all defendants without

distinction are sufficient to withstand dismissal. On the contrary, in that case the plaintiff alleged,

on information and belief, specific acts of misappropriation by each of the individual defendants

including saving files to external drives and databases after downloading confidential

information onto these external drives and databases. The holding in Lumenate does not support

Opus’s assertion that alleging that all of the defendants misappropriated all of the “trade secrets”

without distinction or variance is plausible, or that there is some “inference” of misappropriation

by each of these defendants.

       Indeed, it appears that Opus’s theory is that by virtue of the fact the individual defendants

once worked for Opus, subsequently left Opus, and months thereafter opened or went to work for

a competing business, they necessarily “misappropriated” Opus’ “trade secrets.” However,

merely leaving employment and starting a competing business does not raise an “inference” of

misappropriation. Opus cites no authority establishing otherwise.

       Opus also maintains that “the SAC does not necessarily allege that defendants engaged in

‘identical conduct’” because the defendants are alleged to have resigned at different times.

(Response, p. 5). However, regardless of the time of the resignation, all defendants are alleged

to have done the same thing prior to their resignation: to have “absconded” with all six categories

of “trade secrets.” That the exact dates on which each defendant allegedly engaged in this




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absconding are not specified does not cure the implausible theory presented by these common

allegations. 1

Opus’s reliance on Koh v. Graf, 11-CV-02605, 2013 WL 5348326, at *4 (N.D. Ill. Sept. 24,

2013) for the proposition that Rule 8(a) “does not require a Opus, without the benefit of

discovery to connect every single alleged instance of misconduct in the complaint to every single

specific [defendant]” is wholly misplaced (Response, p. 6). In that case, the plaintiff brought suit

against three police officers who participated in his extended detainment who were alleged to

have “yelled at him, lied to him, manipulated him, and repeatedly accused him wrongfully of his

son's murder.” Id. The court held that group pleading was permissible under the circumstances of

that case, which bear no resemblance whatsoever to Opus’s claims against its former employees

alleging that each stole six categories of “trade secrets.” Indeed, the court in Koh specifically

recognized its holding as limited to the facts of that case finding that disallowing group pleading

in factually similar cases “would effectively allow police officers to violate constitutional rights

with abandon as long as they ensured they could not be individually identified, even if liability

for acting in concert (or for aiding and abetting each other) would otherwise apply.” Id., at *4.

This holding does not support Opus’ position.

        Opus asserts that it’s pleading burden “corresponds to the amount of information

available” (citing Elmore v. Smith & Nephew, Inc., 12 C 8347, 2013 WL 1707956, at *5–6 (N.D.

Ill. Apr. 19, 2013) and avers that “the SAC certainly alleges enough facts to raise a reasonable




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  Similarly, the argument that because defendant Wright resigned ten months after defendant
Giannone and in that period had been promoted there is an inference she obtained “additional
information” does not save the implausible nature of the claims, alleging identical conduct by all
defendants at unspecified times. Moreover, additional allegations of access and/or solicitation by
defendant Giannone are premised upon the allegations that he, same as the other defendants,
misappropriated all of the alleged trade secret.
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expectation that discovery will reveal evidence and the details regarding each defendants’

alleged misappropriation of Opus’ trade secrets.” (Response, p. 7). Notably, Elmore cites Iqbal,

supra, for the rule that a “complaint that contains only bare legal conclusions will not “unlock the

doors of discovery.’” Id., at *5.

       In Elmore, the plaintiff brought a strict liability action against the manufacturer of a hip

implant which alleged to have resulted in her injury. Defendant moved to dismiss on the basis

“the occurrence of medical complications after a major surgery does not provide the factual

grounding necessary to make a claim plausible.” The court rejected this argument finding that

allegations of “[t]wo revision surgeries, coupled with increased chromium and cobalt levels in

[Opus’s] blood, provide sufficient factual grounding on which to base negligence and strict

liability claims.” Unlike Elmore, Opus has not alleged “sufficient factual grounding” to establish

that any defendant “misappropriated” and of Opus’s alleged “trade secrets” – and allegations that

these individuals formed and/or worked for a competitor following their departure from Opus

does not provide the requisite “factual grounding.”

       Because Opus’ theory that all defendants engaged in identical conduct is implausible,

Counts II, III and IV should be dismissed.

B.     Allegations of Opus’ Efforts to Maintain the Secrecy of the “Trade Secrets” are
       Insufficient.

       As explained in Chamberlain Group supra:

       Information is secret under the ITSA if “the company must take steps to preserve its
       secrecy commensurate with the value derived from its secret nature. Under the DTSA, a
       trade secret is sufficiently secret if the owner thereof has taken reasonable measures to
       keep such information secret.

2017 WL 4269005, at *6. Opus asserts that because it has alleged that: (1) the “trade secrets”

were housed on its password protected computer system; and (2) it required employees to



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execute confidentiality agreements, Opus has satisfied the requirement that it employ reasonable

security measures to maintain the secrecy of its “trade secrets” so as to satisfy the statutory

definition of a “trade secret.” In effect, Opus’s position is that any information on its computer

system it unilaterally deems “confidential” is a “trade secret” by virtue of the standard business

practice of password protecting its computer network and the existence of confidentiality

agreements with its employees. This proposition finds no support in the law upon which Opus

relies.

          Opus unsuccessfully attempts to distinguish the holding in Fire 'Em Up, Inc. v.

Technocarb Equip. (2004) Ltd., 799 F. Supp. 2d 846, 850 (N.D. Ill. 2011)(Norgle, J.). There, the

court held that the existence of confidentiality agreements does not serve as a sufficient measure

to maintain secrecy so as to satisfy the definition of “trade secret.” Opus maintains that because

it additionally alleged that the “trade secrets” are maintained on a password-protected computer

system, “‘something more’ therefore is alleged here.” (Response, p. 8). But courts in this circuit

have acknowledged that password protection of computer systems is standard business practice.

Centrifugal Acquisition Corp., Inc. v. Moon, 849 F. Supp. 2d 814, 831 (E.D. Wis. 2012);

citing Maxpower Corp. v. Abraham, 557 F.Supp.2d 955, 961 (W.D.Wis.2008). To hold that a

meager combination of: (1) maintaining a password-protected computer system (as virtually all

businesses do); and (2) the existence of any confidentiality agreement (which standing on its own

is an insufficient measure), together establish sufficient measures of maintaining secrecy so as to

render information on the computer a “trade secret” would have sweeping implications that

would, if allowed, render every bit of information on a business computer a “trade secret” at the

business’ whim.




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       Opus relies on cases wherein plaintiffs asserted far more protection than just the

existence of a confidentiality agreement. For instance, in SBS Worldwide, Inc. v. Potts, 13 C

6557, 2014 WL 499001, at *5 (N.D. Ill. Feb. 7, 2014), the plaintiff alleged four secrecy

measures: (i) maintaining a non-disclosure policy; (ii) keeping confidential customer

information behind a password-protected intranet; (iii) limiting access to selective employees;

and (iv) utilizing “traditional security measures to protect physical documents.” Similarly, in

RKI, Inc. v. Grimes, 177 F. Supp. 2d 859, 874–75 (N.D. Ill. 2001), the secrecy of the information

was maintained through password-protected computer databases and limiting access to select

individuals on a “need to know” basis.

       In support of its argument that it has alleged reasonable efforts to maintain the secrecy of

the information it alleges are “trade secrets,” Opus curiously contends that “whether, a customer

list constitutes a trade secret ‘depends upon factual issues that cannot be decided at the

pleading stage, including the amount of effort expended to develop the list and the steps

taken to keep it secret.” (Response, p. 8)(emphasis in original). However, Opus’s contention is

that anything on its computer system it unilaterally deems confidential is a “trade secret” because

of its computer password protection and the existence of confidentiality agreements. There is no

“factual issue” regarding a “customer list” (which is not one of the six trade secrets alleged in the

SAC). 2 Indeed, there are no additional or disputed facts regarding these efforts, nor does Opus

contend otherwise. Opus has alleged the factual basis for its position that its “secrecy” measures

meet the statutory definition. These facts are insufficient.



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  For this reason, Opus’s reliance on Lane v. Brocq, 15 C 6177, 2016 WL 1271051, at *14 (N.D.
Ill. Mar. 28, 2016) is misplaced. In that case, plaintiff law firm sufficiently alleged that its client
list, maintained on a password protected system limited to less than five employees and staff was
a “trade secret.” In the present case, the “trade secrets” include six broad categories of
information maintained on a computer system accessible to Opus’ employees.
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       Opus also argues that “’courts in this district have consistently found trade secret

‘allegations to be adequate in instances where the information and the efforts to maintain its

confidentiality are described in general terms.’” (Response, p. 9). However, the deficiency in

Opus’s allegations as to its efforts to maintain the secrecy of the alleged “trade secrets” is not

that these allegations are “general.” Rather, the allegations are specific, but insufficient to satisfy

the statutory definition because password protecting a computer system and having

confidentiality agreements with employees does not, taken together, constitute a reasonable

efforts to maintain the secrecy of all of the information on that system so as to render all

information on that system which Opus unilaterally deems “confidential” a “trade secret.”

Moreover, in Covenant Aviation Sec., LLC v. Berry, 15 F. Supp. 3d 813, 819 (N.D. Ill. 2014),

cited in support of this proposition, the court did not discuss the allegations as to efforts to

maintain secrecy of the trade secrets at issue. In Scan Top Enter. Co., Ltd. v. Winplus N. Am.,

Inc., 14 C 7505, 2015 WL 4945240, at *1 (N.D. Ill. Aug. 19, 2015), also cited, the efforts

included marking the alleged trade secrets “patent-pending” and/or “confidential.” Neither case

supports Opus’s position that they have alleged sufficient secrecy measures to satisfy the

statutory definition of “trade secret.”

       Opus cites no case wherein an allegation that general categories of information stored are

on a password protected computer system, coupled with allegations of the existence of

confidentiality agreements, satisfies the statutory requirement of reasonable efforts to maintain

secrecy for purposes of “trade secret” status. This court should decline Opus’s invitation to

create such precedent.

       Because Opus has failed to allege facts satisfying the statutory definition of “trade secret”

Counts II and IV should be dismissed.



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C.      Misappropriation Has Not Been Adequately Pled.

        Opus asserts that because defendants once worked for Opus, had access to “trade secrets’

at that time, subsequently left Opus and formed and/or joined Theorem, a competitor, and

solicited Opus’s clients following their departure, it can be inferred, without more, that

defendants “misappropriated” Opus’ “trade secrets.” Opus argues that dismissal on the basis that

it has failed to adequately plead misappropriation is not warranted because “defendants had

access to Opus’ trade secrets during their employment, absent discovery on the issue, Opus is

unable to currently determine how and when defendant’s improperly accessed or acquired Opus’

trade secrets for their or Theorem’s own use.” (Response, p. 11). As set forth in Section A above,

anticipated discovery cannot excuse Opus’s admitted failure to plead anything beyond wholly

conclusory allegations of misappropriation.

        To the extent that Opus’s maintains that the misappropriation claims are subject to the

“inevitable disclosure” doctrine, this doctrine cannot serve to salvage Opus’s conclusory

allegations of misappropriation. Opus has alleged no facts which would establish that any

defendants will inevitably “disclose” the six categories of “trade secrets” identified. In Teradyne,

Inc. v. Clear Communications Corp., 707 F. Supp. 353, 356–57 (N.D. Ill. 1989), the court held

that the plaintiff failed to plead “inevitable disclosure” of its former employer’s trade secrets:

        Here there is no allegation that defendants have in fact threatened to use [former
        employer’s] secrets or that they will inevitably do so. An allegation that the defendants
        said they would use secrets or disavowed their confidentiality agreements would serve
        this purpose. An allegation that [new employer] could not operate without [former
        employer’s] secrets because [former employer’s] secret technology is the only one that
        will work would suffice though more technical facts may be necessarily included in such
        a pleading. The defendants' claimed acts, working for [former employer], knowing its
        business, leaving its business, hiring employees from [former employer] and entering the
        same field (though in a market not yet serviced by [former employer]) do not state a
        claim of threatened misappropriation.




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Id., 356–57. Opus makes no allegation which would support a theory of liability based upon

“inevitable disclosure.” Opus does not allege that defendants threatened to disclose or use any

“trade secret.” Opus does not allege that Theorem could not operate without the disclosure or use

of any “trade secret.” Because there are no allegations supporting ‘inevitable disclosure,” Opus’s

invocation of this doctrine cannot sustain Counts II and IV.

       Similarly, Opus’s reliance on PepsiCo, Inc. v. Redmond, 54 F.3d 1262 (7th Cir. 1995) for

the proposition that defendants “would be unable to compartmentalize Opus’ trade secrets in

their new, similar position with Opus’ direct competitor” and accordingly their misappropriation

claims should be sustained is unavailing (Response, p.13). Plaintiff in PepsiCo sought and

obtained a preliminary injunction to prevent future disclosure, and this case is therefore

procedurally inapposite. Moreover, the facts of that case “lay against a backdrop of fierce

beverage-industry competition.” 54 F.3d at 1263, There are no facts pled which establish why or

how defendants would necessary utilize Opus’s “trade secrets” or would be “unable to

compartmentalize” the same, nor otherwise support the proposition that Opus has adequately

alleged misappropriation pursuant to the “inevitable disclosure” doctrine.

       D.      Count IV fails to allege a violation of Section 1030 (a)(5)(B) of the CFAA.

       Section 1030(g) of the CFAA allows for civil liability under certain circumstances. To

state a claim for civil liability under CFAA, a plaintiff must allege “(1) damage or loss; (2)

caused by (3) a violation of one of the substantive provisions set forth in § 1030(a), and (4)

conduct involving one of the factors of harm set forth in § 1030(c)(4)(A)(i)(I)–(VI).” Maximum

Indep. Brokerage, LLC v. Smith, 218 F. Supp. 3d 630, 636 (N.D. Ill. 2016)(emphasis added).

Opus’s Response indicates its fundamental misunderstanding of the requirement under




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subsection (1) - to show damage or loss - as opposed to the requirement under subsection (3) – to

show a “violation” under Section 1030(a).

       Opus has alleged a violation of Section 1030(a)(5)(B). (SAC, ¶ 67). Section

1030(a)(5)(B) of the CFAA applies where the alleged violator:

       (B) intentionally accesses a protected computer without authorization, and as a result of
       such conduct, recklessly causes damage;

18 U.S.C.A. § 1030 (West) (emphasis added). “Damage” is defined by the CFAA as “any

impairment to the integrity or availability of data, a program, a system, or information.” 18

U.S.C. § 1030(e)(8). As recognized in Motorola, Inc. v. Lemko Corp., 609 F. Supp. 2d 760, 768–

69 (N.D. Ill. 2009):

       A plaintiff seeking to recover via section 1030(g) for a violation of section 1030(a)(5) of
       the CFAA must allege, and ultimately prove, the defendant’s conduct resulted in damage
       as the CFAA defines that term.

Opus’s allegations of “loss,” while sufficient to satisfy the “damage or loss” prong of the four

part civil liability analysis, does not establish the underlying violation of Section 1030(a)(5)(B)

which requires allegations of physical damage to the computer system at issue. As recognized in

Landmark Credit Union v. Doberstein:

       [T]he Seventh Circuit, in the only case in which the Court of Appeals has interpreted the
       civil remedy in the CFAA, has noted that Congress crafted Section 1030(a)(5)(B) of the
       CFAA because of a concern to thwart “attacks by disgruntled programmers who
       decide to trash the employer's data system on the way out” of the company. Int'l
       Airport Ctrs., L.L.C. v. Citrin, 440 F.3d 418, 419 (7th Cir.2006) (dictum).

746 F. Supp. 2d 990, 993–94 (E.D. Wis. 2010)(citing cases)(emphasis added).

       Nowhere does Opus allege facts which establish “damages” so as to invoke Section

(a)(5)(B), where the only “damage and/or loss” alleged pertains to unspecified remediation

efforts and prospective security measures (SAC, ¶ 72). Allegations of “damage or loss” under

Section 1030(c)(4)(A)(i) in the form of remediation efforts are unrelated to the requirement that

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Opus establish a “violation” under Section 1030(a)(5)(B). Opus, in its Response, simply fails to

understand or address the distinction.

          WHEREFORE, Defendants request that this Court dismiss Counts II, III and IV of the

Second Amended Complaint with prejudice, and for all other relief this Court deems just and

proper.

                                                    Respectfully submitted,

                                                    Theorem Fund Services, LLC, Stephen
                                                    Giannone, Mikhail Davidyan, Melissa
                                                    Bockwinkle, and Elizabeth Wright,


                                              By: /s/ Claire Gorman Kenny
                                                  One of their attorneys

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